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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

JOYCE MARIE MOORE, ET AL                                               CIVIL ACTION

VERSUS                                                                 NO. 65-15556

TANGIPAHOA PARISH SCHOOL BOARD                                         SECTION: “B”(3)

                                        ORDER

       On July 30, 2020, a hearing was held in open court with

parties’ counsel of record. Arguments by counsel for the parties

were     given    on     motions     declaring          Tangipahoa       Parish      School

System    Unitary        and   Acknowledgment       Of     Final     Agreement        (Rec.

Doc.     1581),    declaring         Tangipahoa          Parish      School          System

Unitary      and         Acknowledgment      Of    Final     Agreement       (Rec.     Doc.

1615),     and      declaring         Tangipahoa          Parish       School        System

Provisionally      Unitary,        Suspension     Of     Existing    Injunctions        And

Order, and Acknowledgment And Approval Of Final Agreement (Rec.

Doc. 1630). Accordingly and without objection,

        IT WAS ORDERED that Tangipahoa Parish School Board shall

obtain     information/data           set      forth       by      the       Court      and

distribute        same    to   the    Court,      all    counsel,      the      Compliance

Officer and the Desegregation Implementation Officer no later

than     August     6,     2020.     After     conferring       with      all     parties,

plaintiffs’ counsel shall file any motions regarding disputes by

August 10, 2020, but only after conferring with all counsel per

Local Rules of Court in an effort to resolve relevant issues.

       New Orleans, Louisiana this 6th day of August, 2020

                                       ___________________________________
                                       SENIOR UNITED STATES DISTRICT JUDGE
